Case 2: 03- --c\/ 74213- PDB ECF No. 217 filed 10/20/ 3 e _
Case No: 05- 1676 39 lag 51/3 elofl

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uNl'nzD STA'IES couRT a= APPEALS
FOR 'rHE slx'm CIRCUIT 'OCT 1 6 2006

ORDER
TAMERA SMITH; CHADDWIC SMITH

Plaintifis - Appellees

V .
ELIZABETH PEZZETTI, et al

Defendants

and
DONNA CROMWELL; JONATHAN CROMWELL

De£endants - Appellants

Upon consideration of the stipulation of the

LEONARD GREEN, Clerk`

HL|E

OCT 20 2006

CLERK’S OFF|CE
DETROH`

parties to voluntarily

dismiss the appeal herein pursuant to Rule 42(b), Federal Rules of Appellate

Procedure,

lt is ORDERED that the stipulation is GRANTED and the

appeal iS dismissed.

E$HERED PURSUANT TO RULE 45(a),
RULES OF THE SIXJH CIRCUIT.
Leonard Green, Clerk

Levm.v$_ wa»l£>

 

A TRUE COPV

AHMH:

LEONARD GRE N, ,§|_erk§ éM/L

By

Deputy Clerk __ _~-

